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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   MICHAEL T. FLYNN,

         Plaintiff,                         Case no. 8:23:CV-00485-MSS-CPT

   vs.

   UNITED STATES OF AMERICA,

         Defendant.
   ________________________________________/

    THE PARTIES’ JOINT MOTION TO EXCEED PAGE LIMITIONS
   AND FOR AN EXTENSION OF TIME FOR PLAINTIFF TO RESPOND
          TO THE UNITED STATES’ MOTION TO DISMISS

         The parties respectfully move for leave to exceed the page limits set by

   Local Rule 3.01(a)-(b) by up to 20 pages for both the United States’ motion to

   dismiss in this matter and for Plaintiff’s response to the motion to dismiss. See

   L.R. 3.01(a)-(b) (providing a 25-page limit for all motions and a 20-page limit

   for any response). Plaintiff also respectfully moves, with the United States’

   consent, pursuant to Fed. R. Civ. P. (6), to extend the deadline for Plaintiff to

   file his response to the United States’ motion to dismiss by 14 days, which

   would make the response due by August 11, 2023.




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         On March 3, 2023, Plaintiff filed in this Court an action asserting

   claims pursuant to the Federal Tort Claims Act, 28 U.S.C. § 1346, et. seq.

   (“FTCA”), for abuse of process and malicious prosecution. ECF No. 1.

   According to Plaintiff, various named and unnamed officials within the

   Executive Office of the President (“EOP”), the Department of Justice

   (“DOJ”), the Special Counsel’s Office (“SCO”) under Robert S. Mueller III,

   and the Federal Bureau of Investigation (“FBI”) conspired to investigate

   and/or prosecute him without cause to derail Donald J. Trump’s presidential

   campaign and administration. See e.g., ECF No. 1 at ¶¶ 3, 5, 11-21.

          Including attachments, the Complaint is 89 pages in length and asserts

   161 paragraphs of factual allegations. Although, pursuant to the FTCA, the

   United States is the only named defendant, Plaintiff’s claims are based upon

   the alleged acts and omissions of numerous named and unnamed government

   officials. Additionally, Plaintiff’s claims are premised upon alleged acts and

   omissions spanning over four years. Plaintiff has described this action as “an

   incredibly complex case involving a multitude of government actors spanning

   a multi-year investigation and criminal prosecution.” ECF No. 24 at 5.

         Pursuant to Local Rules 3.01(a)-(b), a motion may not exceed 25 pages

   in length and a response may not exceed 20-pages in length without leave of

   the Court. The parties’ request to exceed the page limit by up to 20 pages is




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   supported by good cause. The United States intends to move to dismiss each

   of Plaintiff’s claims for failure to state a claim and thus, the Court’s lack of

   subject matter jurisdiction. 1 To adequately address the sufficiency of each

   claim, both parties must address the complex underlying factual predicate for

   the claims, including the roles of the alleged “wrongdoers.” Additionally,

   malicious prosecution and abuse of process claims involve distinct legal

   elements and distinct factual allegations in the Complaint that must be

   separately addressed by the parties to determine whether Plaintiff has

   plausibly set forth claims for relief. The additional pages will enable the

   parties to present their arguments clearly and thoroughly and, therefore, the

   interests of justice will be served.

          For these reasons, the parties respectfully request permission to exceed

   the page limitations by no more than 20 pages for the United States’ motion to

   dismiss and the Plaintiff’s response to the motion.

          Good cause also exists to extend the deadline for Plaintiff’s filing of its

   response to the United States’ motion to dismiss by 14 days. See Fed. R. Civ.

   P. 6(b)(1) (noting a Court has discretion to extend deadlines for good cause).

   As explained above, the United States intends to move to dismiss both of the




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            “[I]n the unique context of the FTCA, all elements of a meritorious claim
   are also jurisdictional.” Brownback v. King, 141 S. Ct. 740, 749 (2021).


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   claims asserted in Plaintiff’s Complaint, which involve the alleged acts and

   omissions of numerous federal employees over a four-year period. The

   additional time will provide Plaintiff with the opportunity to fully assess the

   United States’ arguments and prepare a response that takes into consideration

   the complexities of the case and the underlying factual predicate. As such, the

   Plaintiff respectfully requests – with the United States’ consent – an extension

   of 14 days for Plaintiff to file his response to the United States’ motion to

   dismiss.

                                      Conclusion

         For all the foregoing reasons, the parties respectfully request that the

   Court: (1) grant leave for the parties to exceed the page limits of Local Rule

   3.01(a)-(b) by up to 20 pages when filing the United States’ motion to dismiss

   and Plaintiff’s response to the motion to dismiss; and (2) extend the deadline

   for Plaintiff to file his response to the United States’ motion to dismiss by 14

   days such that the response would be due on or before August 11, 2023.




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                                Respectfully submitted,


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                              CERTIFICATE OF SERVICE

             I certify that on June 23, 2023, I filed the foregoing with the Clerk of the

   Court by using the CM/ECF system, which will send an electronic notice of

   filing.


                                               /s/Kristin McGrory
                                               Kristin B. McGrory
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